10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 5:18-cr-00258-EJD Document 1029 Filed 09/20/21 Page 1 of 3

STEPHANIE M. HINDS (CABN 154284)
Acting United States Attorney

HALLIE HOFFMAN (CABN 210020)
Chief, Criminal Division

JEFF SCHENK (CABN 234355)
JOHN C. BOSTIC (CABN 264367)
ROBERT S. LEACH (CABN 196191)
KELLY I. VOLKAR (CABN 301377)
Assistant United States Attorneys

150 Almaden Boulevard, Suite 900
San Jose, California 95113
Telephone: (408) 535-5061

Fax: (408) 535-5066
Robert.Leach@usdoj.gov

Attorneys for United States of America
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION
UNITED STATES OF AMERICA, ) Case No. 18-CR-00258 EJD
)
Plaintiff, ) JOINT STIPULATIONS REGARDIN G
) TRIAL EVIDENCE
v. )
)
ELIZABETH HOLMES, )
)
Defendant.
)

 

The United States and Defendant Elizabeth Holmes hereby stipulate and agree as follows:

1. Emails to or from email addresses with the domain @theranos.com that were sent or
received by Theranos personnel and bear the bates prefixes HOLMES, THER-, THERDOSJ-, THPFM-,
THER-AZ-, TS-, and TS2- are true and correct copies of emails stored, collected, and/or produced by
Theranos. Such documents are authentic for the purposes of Federal Rules of Evidence 901 and 902 and
are admissible over any objections as to authenticity or best evidence.

Be The following exhibits are true and correct copies of public records and websites: DX

9500-9698; DX 7051; DX 7054; DX 7056; DX 7057; DX 7094; DX 7308; DX 7333; DX 7339; DX

JOINT TRIAL STIPULATIONS
CASE NO. 18-258 EJD 1

 
10
11
12
13
14
[5
16
17
18
19
20
al
22
23
24
2
26
21
28

 

 

Case 5:18-cr-00258-EJD Document 1029 Filed 09/20/21 Page 2 of 3

7457; DX 7468; DX 7478; DX 7480; DX 7509; DX 7545; DX 7603; DX 7660; DX 7668; DX 7670; DX
7694; DX 7695; DX 7707; DX 7711; DX 7718; DX 7719; DX 7721; DX 7722; DX 7725; DX 7726; DX
7727, DX 7728; DX 7729; DX 7730; and DX 10386-10443. Such documents are authentic for the
purposes of Federal Rules of Evidence 901 and 902 and are admissible over any objections as to
authenticity or best evidence.

3. Exhibits 4845 and 3314 are true and correct copies of wire transfer records obtained from
the Federal Reserve Bank of New York, and are authentic for the purposes of Federal Rules of Evidence
901 and 902 and admissible as business records.

4. The following video exhibits are authentic for the purposes of Federal Rules of Evidence
901 and 902 and are admissible over any objections as to authenticity or best evidence:

a) Exhibit 1221 is a true and correct copy of a video interview of Elizabeth Holmes
on or about November 6, 2013, by Caitlin Roper of Wired Magazine.

b) Exhibit 1253 is a true and correct copy of a video interview of Elizabeth Holmes
on or about October 30, 2013, by Eric Topol of Medscape.

C) Exhibit 1616 is a true and correct copy of a video of proceedings before the

Arizona Senate Health and Human Services Committee, including statements by Ramesh

Balwani, on or about March 12, 2014.

d) Exhibit 3727 is a true and correct copy of a TEDMED talk by Elizabeth Holmes

on or about September 20, 2014.

e) Exhibit 2274 is a true and correct copy of a video interview of Elizabeth Holmes
on or about December 2, 2014, by Pattie Sellers of Fortune.

f) Exhibit 2283 is a true and correct copy of a video interview of Ken Auletta on or
about December 12, 2014, by CNBC.

g) Exhibit 2431 is a true and correct copy of a video interview of Elizabeth Holmes
and Toby Cosgrove on or about March 9, 2015, by Maria Bartiromo of Fox Business.

h) Exhibit 2476 is a true and correct copy of a news report aired on CBS on or about

April 16, 2015, including statements by Elizabeth Holmes.

i) Exhibit 2851 is a true and correct copy of a video interview of Elizabeth Holmes

JOINT TRIAL STIPULATIONS
CASE NO. 18-258 EJD 2

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 5:18-cr-00258-EJD Document 1029 Filed 09/20/21 Page 3 of 3

on or about October 15, 2015, by Jim Cramer of CNBC.

j) Exhibit 2889 is a true and correct copy of a video interview of Elizabeth Holmes
on or about October 21, 2015, by Jonathan Krim of The Wall Street Journal.

k) Exhibit 3716 is a true and correct copy of a video interview of Elizabeth Holmes
on or about October 26, 2015, by Toby Cosgrove.

1) Exhibit 2949 is a true and correct copy of a video interview of Elizabeth Holmes
on or about November 2, 2015, by Alan Murray of Fortune.

m) Exhibit 3152 is a true and correct copy of a news report aired on NBC on or about
April 18, 2016, including statements by Elizabeth Holmes.

n) Exhibit 3717 is a true and correct copy of a video interview of Elizabeth Holmes
on or about August 1, 2016, at the American Association of Clinical Chemistry.

0) Exhibit 3224 is a true and correct copy of a video interview of Elizabeth Holmes

on or about August 1, 2016, by Dr. Sanjay Gupta of CNN.

DATED: q g| ad a\ Respectfully submitted,

STEPHANIE M. HINDS
Acting United States Attorney

(KC
JE HENK’
JOHNC. BOSTIC
ROBERT S. LEACH
KELLY I. VOLKAR
Assistant United States Attorneys

 

 

 

DATED: A | % [202 TU
KEVIN DOWNEY

LANCE WADE
KATHERINE TREFZ
Attorneys for Defendant Elizabeth Holmes

JOINT TRIAL STIPULATIONS
CASE NO. 18-258 EJD 3

 
